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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
 RICHARD BLUMENTHAL et al.,              )
                                         )
                             Plaintiffs, )
                                         )
 v.                                      )                 Case No. 18-2143 (RDM)
                                         )
 U.S. NATIONAL ARCHIVES AND RECORDS )
 ADMINISTRATION et al.,                  )
                                         )
                           Defendants. )

                                             NOTICE

       Plaintiff did not receive footnotes 6, 8, and 11 of the Defendants’ Statement contained in

the Joint Status Report filed on October 12, 2018 (ECF No. 19) with sufficient time to review

them or to incorporate a response into their Plaintiffs’ Statement prior to the filing deadline.

Plaintiffs do not believe that the statements contained in these footnotes are material to the issues

currently before the Court in this matter. That said, Plaintiffs’ counsel disagree with the

characterizations of events contained in those footnotes. To the extent that the Court believes it

would benefit from further discussion of the events described in those footnotes, Plaintiffs are

available for a status conference next week, as indicated in the Joint Status Report.



                                                       /s/ Elizabeth France

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